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                                                                                             E-FILED
                                                                Thursday, 10 April, 2014 03:28:35 PM
                                                                       Clerk, U.S. District Court, ILCD
                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                               SPRINGFIELD DIVISION

BEVERLY THROGMORTON, DELORES                       )
HENRY, and PATRICIA PHILLIPS, on behalf            )
of themselves and class of others similarly        )
situated,                                          )
                                                   )
                             Plaintiffs            )
                                                   )
       v.                                          )      No. 12-3087
                                                   )
RUSSELL REYNOLDS, et al.,                          )
                                                   )
                             Defendants.           )

                      ANSWER TO SIXTH AMENDED COMPLAINT

       NOW COME the defendants, Melody Hulett, Russell Reynolds, Russell Craig, Kim

Johnson, Carlita Edmonson, Peter Leonetti, Benny Dallas, Monica Slater, Troy Dawdy, Paul

Pfieffer, Dominque Crudup, Abraham Anderson, and Alan Pasley, Renee Hatfield, Stephanie

Spaniol, Shabeda W arden, James Killian, Sheila Van Middlesworth, Michael Van

Middlesworth, Brian Rickord, David Last, David Dilley, Emma Bender, Barb Boch, Andrea

Butler, Andrea Hinton, Brent Kenney, Charles Mathias, Eddie Jones, W endy Johner, Steven

Johner, Courtney Krull and Angela Locke, by and through their attorney, Lisa Madigan,

Attorney General for the State of Illinois, and hereby submit defendants’ Answer to Plaintiff’s

Sixth Amended Complaint [Doc. 83]. In support thereof, defendants state as follows:

                                          INTRODUCTION

       1.     Defendants admit the allegations are as stated by Plaintiffs Defendants deny

Plaintiffs have any meritorious claims in either law or fact.

       2.     Defendants admit that Housing Units 2 and 4 were shaken down and the

offenders were required to be strip searched. Defendants admit that inmates were required

to wait in the gymnasium while other offenders were taken in small groups to be strip
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searched by Logan Correctional staff and IDOC trainees. Defendants deny the remaining

allegations contained in this paragraph.

       3.     Denied.

       4.     Defendants admit that trainees participated in the search but deny there was

not a legitimate penological purpose for the search independent of trainee participation.

Defendants deny the remaining allegations contained in this paragraph.

       5.     Denied.

       6.     Defendants lack sufficient knowledge to admit or deny Plaintiffs’ motivations

for filing this case. Defendants deny the allegations.

       7.     Admitted.

       8.     Admitted.

                                           PARTIES

       9.     Defendants admit that Plaintiff Throgmorton is 48 years old. Defendants lack

knowledge as to plaintiff’s current residence. Defendants admit plaintiff was housed in 2B

at Lincoln Correctional Center on March 31, 2011.        Defendants deny the remaining

allegations contained in this paragraph.

       10.    Defendants deny that Plaintiff Henry is 57 years old and was housed in unit 2B

at Lincoln on March 31, 2011. Defendants lack sufficient knowledge to admit or deny where

Henry resides now. Defendants deny the remaining allegations contained in this paragraph.

       11.    Defendants admit that Plaintiff Phillips is approximately 44 years old and was

housed in unit 2B at Lincoln on March 31, 2011. Defendants lack sufficient knowledge to

admit or deny where Phillips resides now. Defendants deny the remaining allegations

contained in this paragraph.

       12.    Defendants admit that Plaintiff Hegwood is 49 years old and was housed in

unit 2B at Lincoln on March 31, 2011. Defendants lack sufficient knowledge to admit or deny

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Hegwood’s current residence. Defendants deny the remaining allegations contained in this

paragraph.

       13.     Defendants deny that anyone was forcibly and publicly strip searched, but lack

sufficient knowledge to admit or deny the remaining allegations contained in this paragraph.

       14.     Defendants deny that anyone was forcibly and publicly strip searched, but lack

sufficient knowledge to admit or deny the remaining allegations contained in this paragraph.

       15.     Defendants admit that Lincoln Correctional Center was medium security and

housed female inmates at the time relevant to this case, but deny there were only three such

facilities. Defendants lack sufficient knowledge to admit or deny the remaining allegations

contained in this paragraph.

       16.     Defendants admit Defendants Edmonson, Johnson, Leonetti, Dowdy, Pfeiffer,

Craig, and Slater were members of the tactical unit at Lincoln and acted under color of law

at all relevant times.

       17.     Defendants admit the listed defendants were employed at Lincoln on March

31, 2011, and acted under color of law at all relevant times.        Defendants deny that

Defendants Dallas and Last held the rank of officer. Defendants lack sufficient knowledge

to admit or deny the allegations regarding unknown officers.

       18.     Admitted.

       19.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph as it is unclear what Plaintiffs mean by “in charge of.”

Defendants admit they acted under color of law.

       20.     Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph as it is unclear what Plaintiffs mean by “in charge of.”

Defendants admit they acted under color of law.


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       21.    Admitted.

       22.    Defendants deny that Logan is one of four female institutions, but admit the

remaining allegations contained in this paragraph.

       23.    Defendants admit the allegations contained in this paragraph.

       24.    Defendants admit the allegations contained in this paragraph.

                          Facts Relating to the Named Plaintiffs

       25.    Denied.

       26.    Denied.

       27.    Denied.

       28.    Denied.

       29.    Denied.

       30.    Defendants admit that part of the procedure for strip searching requires

inmates to remove tampons and discard them in a garbage can. Defendants deny the

remaining allegations contained in this paragraph.

       31.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks. Defendants deny the

remaining allegations contained in this paragraph.

       32.    Defendants deny the bathroom was unsanitary.

       33.    Defendants admit that women who were menstruating at the time of the strip

search were not given tampons afterwards; they were given pads. Defendants deny the

remaining allegations contained in this paragraph.

       34.    Defendants lack sufficient knowledge to either admit or deny the allegations

contained in this paragraph.

       35.    Denied.


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       36.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks and that if Plaintiff was

strip searched, she would have been required to comply. Defendants deny the remaining

allegations contained in this paragraph.

       37.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       38.    Defendants admit that the procedure for strip searching requires inmates to

raise their breasts, lift their hair, cough, and spread their buttocks and that if Plaintiff was

strip searched, she would have been required to comply. Defendants deny the remaining

allegations contained in this paragraph.

       39.    Defendants lack sufficient knowledge to admit or deny the allegations

contained in this paragraph.

       40.    Defendants admit that those subject to the search were required to remain in

the gymnasium until all searches were completed. Defendants lack sufficient knowledge to

admit or deny the remaining allegations.

       41.    Denied.

       42.    Denied.

       43.    Denied.

       44.    Denied.

       45.    Denied.

       46.    The Defendants lack sufficient knowledge to admit whether plaintiff Brown was

part of the group transferred, but otherwise admit the allegations contained in this paragraph.

       47.    Defendants deny the allegations contained in this paragraph.

       48.    Defendants deny this is a complete and accurate description of the process

of organizing cadet training exercises.

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                                  Class Allegations

       49.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       50.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       51.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       52.    Denied.

       53.    Denied.

       54.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       55.    Denied.

       56.    Denied.

       57.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       58.    Defendants admit Plaintiffs so request but deny class certification is

appropriate at this point.

       59.    Denied.

       60.    Denied.

       61.    Denied.

       62.    Denied.

       63.    Denied.




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      Count I—Claims Pursuant to 42 U.S.C. §1983 Violations of the Fourth and
                           Fourteenth Amendments

          64.    Defendants incorporate by reference as if fully set forth herein their answers

to the foregoing paragraphs.

          65.    Denied.

          66.    Denied.

          67.    Denied.

Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.

    Count II—Claims Pursuant to 42 U.S.C. §1983 Violations Eighth Amendment

          68.    Defendants incorporate by reference as if fully set forth herein their answers

to the foregoing paragraphs.

          69.    Denied.

          70.    Denied.

          71.    Denied.

          72.    Denied.

Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of action.

                                  Count III – Injunctive Relief

          73.    Defendants deny the conduct strip searches in a manner that violates the

rights of inmates and that the plaintiffs are entitled to injunctive relief.

                                       Prayers for Relief

          Defendants deny Plaintiffs are entitled to any relief whatsoever in this cause of

action.




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                                   Affirmative Defenses

       1.     To the extent Defendants are sued in their individual capacities, at all times

relevant herein, Defendants acted in good faith in the performance of his official duties and

without violating Plaintiff’s clearly established statutory or constitutional rights of which a

reasonable person would have known. Defendants are therefore protected from suit by the

doctrine of qualified immunity.



       2.     Plaintiffs have to exhaust their administrative remedies as is required prior to

filing suit under 42 U.S.C. 1983 by the Prison Litigation Reform Act (42 U.S.C. 1997) and

Perez v. Wisconsin Dept. of Corrections, 182 F.3d 532 (7 th Cir. 1999).

       3.     In the absence of an ongoing violation of federal law, the plaintiffs’ claim for

injunctive relief is barred by sovereign immunity and the Eleventh Amendment.

                                    Respectfully submitted,

                                    Renee Hatfield, Stephanie Spaniol, Shabeda W arden,
                                    James Killian, Sheila Van Middlesworth, Michael Van
                                    Middlesworth, Brian Rickord, David Last, David Dilley,
                                    Emma Bender, Barb Boch, Andrea Butler, Andrea
                                    Hinton, Brent Kenney, Charles Mathias, Eddie Jones,
                                    W endy Johner, Steven Johner, Courtney Krull and
                                    Angela Locke,

                                           Defendants,

                                    LISA MADIGAN, Attorney General
                                    of the State of Illinois,

                                           Attorney for Defendants.

                                    By: s/Christopher L. Higgerson
                                          Christopher L. Higgerson, #6256085
                                          Assistant Attorney General




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                SPRINGFIELD DIVISION

BEVERLY THROGMORTON, DELORES                         )
HENRY, and PATRICIA PHILLIPS, on behalf              )
of themselves and class of others similarly          )
situated,                                            )
                                                     )
                              Plaintiffs             )
                                                     )
       v.                                            )       No. 12-3087
                                                     )
RUSSELL REYNOLDS, et al.,                            )
                                                     )
                              Defendants.            )


                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 10, 2014, I electronically filed the foregoing Defendants’

Answer to Sixth Amended Complaint with the Clerk of Court using the CM/ECF system which

will send notification of such filing to the following:

                           Michael I Kanovitz       mike@loevy.com

                           Arthur R. Loevy      loevylaw@loevy.com

                             Jonathan I. Loevy      jon@loevy.com

                          Daniel Moore Twetten           dan@loevy.com


                                             Respectfully submitted,

                                             By: s/ Christopher L. Higgerson
                                                    Christopher L. Higgerson
                                                    Attorney for Defendants
                                                    Office of the Illinois Attorney General
                                                    General Law Bureau
                                                    500 South Second Street
                                                    Springfield, Illinois 62706
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                                                    Facsimile: (217) 524-5091
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